            Case 1:21-cr-00503-RCL Document 63 Filed 08/12/22 Page 1 of 2




         UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

United States of America                               )
                                                       )
   v.                                                  )        USDC No. 21-cr-503 (RCL)
Glenn Allen Brooks,                    defendant.      )

                                  MOTION TO PERMIT TRAVEL

         Defendant, through undersigned counsel Nathan I. Silver, II, Esq. (“counsel”), appointed

by this Court under the Criminal Justice Act, respectfully moves the Court to permit defendant’s

travel to and from Haiti, during the period (inclusive) from September 15 to October 6, 2022.

The reasons follow

         1. Defendant is charged in a four-count criminal information with misdemeanor offenses

the government alleges he committed on January 6, 2021, at the United States Capitol. Those

offenses are Entering and Remaining in a Restricted Building or Grounds; Disorderly and

Disruptive Conduct in a Restricted Building or Grounds; Disorderly Conduct in a Capitol

Building; and Parading, Demonstrating, or Picketing in a Capitol Buildings, violations of 18

U.S.C. §§ 1752(a)(1) and (a)(2), and 40 U.S.C. §§5104(e)(2)(D) and (e)(2)(G).

         2. The defendant participates in a faith-based mission in Haiti to improve the delivery of

electricity to farmland on the island. The mission is installing solar panels to collect energy that

can be used in an electrical grid. This grid will supply energy to the agricultural community and

replace one that currently operates on diesel fuel, which has become ever more costly.1

         3. The defendant has made with the Court’s permission previous visits to Haiti.


1
 Counsel obtained this information from Omer Shedd, M.D., active in the mission, known as Promise for Haiti, who
was instrumental in attracting the defendant to participate in the group’s efforts to supply electricity to this area in
Haiti. Dr. Shedd is a cardiologist in the field of electrophysiology. His bio may be found at:
https://www.hendrix.edu/odysseymedal/ default.aspx?id=76674
          Case 1:21-cr-00503-RCL Document 63 Filed 08/12/22 Page 2 of 2




       4. The defendant has demonstrated his reliability and absence of flight risk not only by

adhering to previous Orders of this Court per his travel plans but also by appearing in-person for

his hearings in the instant case, unusual for defendants in January 6 cases, most of whom live

outside the D.C. Metropolitan area and elect to appear remotely.

       5. The government informed the defendant, through counsel, that it takes no position on

this motion.

       6. For the reasons stated above, the defendant urges the Court to permit the defendant’s

travel to and from Haiti, during the period from September 15 to October 6, 2022.

       A proposed Order is attached.

       WHEREFORE, the defendant respectfully moves the Court to grant said relief.

                                       This pleading is,

                                    Respectfully submitted,

                                             /s/

                                      NATHAN I. SILVER, II
                                       Unified Bar #944314
                                        6300 Orchid Drive
                                       Bethesda, MD 20817
                                     (301) 229-0189 (direct)
                                      (301) 229-3625 (fax)
                                    email: nisquire@aol.com


                                  CERTIFICATE OF SERVICE

   I HEREBY CERTIFY that a copy of the foregoing pleading has been served via ECF on
Joseph S. McFarlane, Esq., DOJ-Criminal Division, 1400 New York Avenue, N.W., Washington,
D.C., 20530, attorney of record for the United States, this 15th day of August, 2022.

                                             /s/
                                       _______________________________
                                       Nathan I. Silver, II
